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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                  )
AMERICAN OVERSIGHT,                               )
                                                  )
                              Plaintiff,          )
                                                  )
v.                                                )       Case No. 1:25-cv-883
                                                  )
PETE HEGSETH, in his official capacity as         )
Secretary of Defense,                             )
                                                  )
TULSI GABBARD, in her official capacity as        )
Director of National Intelligence,                )
                                                  )
JOHN L. RATCLIFFE, in his official capacity       )
as Director of the Central Intelligence Agency,   )
                                                  )
SCOTT BESSENT, in his official capacity as        )
Secretary of the Treasury                         )
                                                  )
MARCO A. RUBIO, in his official capacities        )
as Secretary of State and Acting Archivist of     )
                                                  )
and                                               )
                                                  )
NATIONAL ARCHIVES AND RECORDS                     )
ADMINISTRATION,                                   )
                                                  )
                              Defendants.         )
                                                  )


                   MEMORANDUM OF LAW IN SUPPORT OF
            PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
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                               PRELIMINARY STATEMENT

       This case concerns the unlawful destruction of government records and the continued threat

to the preservation of yet more records that contain sensitive government information. Defendants’

failure to initiate recovery actions for lost or destroyed communications conveying official

government business violates the Federal Records Act (“FRA”; 44 U.S.C. §§ 3101 et seq.), thwarts

government transparency, and threatens national security. Judicial intervention is required to

redress Defendants’ destruction of government records by preserving remaining records and

preventing further destruction of government records pursuant to the FRA. In the last six weeks,

more than a dozen senior Trump administration officials have admitted to using Signal—a private,

non-governmental, messaging application that features automatic deletion of messages—to

conduct official government business on various topics, including imminent U.S. military strikes

in Yemen (the “Houthi PC Small Group Chat”), national security, and other foreign policy issues.

       The public only discovered Defendants’ Houthi PC Small Group Chat because the National

Security Advisor accidentally included a journalist, the Editor-in-Chief of The Atlantic, on the

chain, and The Atlantic subsequently published articles describing the Houthi PC Small Group

Chat. The participants in the Houthi PC Small Group Chat included the Secretary of Defense,

National Security Advisor, Secretary of State, Vice President, Director of National Intelligence,

and other high-ranking government officials. More recently, the public has learned that

Defendants’ use of Signal extends far beyond the Houthi PC Small Group Chat; using Signal to

conduct official business is in fact commonplace among appointed government officials in this

administration.

       The destruction of the Houthi PC Small Group Chat deprives the public and Congress of

the ability to hold the administration accountable for its actions—and that would be bad enough.

However, the harm is much more expansive than the deletion of the Houthi PC Small Group Chat.
                                             1
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We now know that, since January 20, 2025, regular government business has been repeatedly

conducted over Signal, including foreign policy decision-making, which has profound impacts on

the American people, their safety, and democracy. For instance, recent reporting by The New York

Times revealed that, before he was confirmed as the U.S. Secretary of Defense in January 2025,

Defendant Hegseth created a Signal group chat titled “Defense | Team Huddle” that, after his

confirmation, he used to communicate with family members, aides, and advisors about a range of

government work, including the forthcoming military strikes discussed in the Houthi PC Small

Group Chat (“DTH Chat”).1 Using a system that automatically deletes messages without regard to

their contents is no mere “technical” violation of the FRA—it represents an effort by the

administration to eliminate the oversight and checks on executive power envisioned by both our

constitutional order and the Freedom of Information Act (“FOIA”).

       While communications on Signal using personal accounts and devices are susceptible to

real-time surveillance by foreign intelligence services, they also cannot be collected from

centralized servers because they are only maintained on the specific devices of the participants in

each individual chat. Indeed, the reason why Signal has become a popular application in some

circles is because it enables people to evade oversight as Signal communications are only

accessible and retrievable from each user’s device. The use of Signal (as opposed to governmental

secure communications systems) in the context of planning a military invasion and other foreign

policy concerns bespeaks only a desire to keep those communications from ever becoming the

subject of review by Congress or the public.




1
 Greg Jaffe, Eric Schmitt & Maggie Haberman, Hegseth Said to Have Shared Attack Details in
Second Signal Chat, N.Y. Times (updated Apr. 21, 2025, 9:30 AM),
https://www.nytimes.com/2025/04/20/us/politics/hegseth-yemen-attack-second-signal-
chat.html?partner=slack&smid=sl-share.
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       In response to the publication of the Houthi PC Small Group Chat records, American

Oversight filed this lawsuit, seeking immediate preservation of those records and demanding

Defendants’ compliance with their duties under the FRA. On March 27, 2025, the Court issued a

temporary restraining order, directing Defendants to preserve the Houthi PC Small Group Chat

Signal messages from March 11 through March 15, 2025, and to file a status report with supporting

declarations describing the steps taken to implement such preservation. However, in response to

the order, each Defendant conceded that they had failed to preserve the Houthi PC Small Group

Chat in its entirety. Some Defendants even claimed to “preserve” portions of their messages by

taking screenshots of their phones, which does not meet regulatory requirements for

recordkeeping, underscoring their failure to appreciate their FRA obligations. One Defendant, the

CIA, failed to preserve even one substantive message in any form at all.

       The CIA’s representative has conceded that Defendant Ratcliffe failed to recover any

substantive messages in the Houthi PC Small Group Chat from the relevant period off his device—

retaining only “residual administrative content.”2 Suppl. Blankenship Decl. ¶ 4, ECF No. 15-3.

Even after the Court ordered supplemental declarations from Defendants following their deficient

explanations about preservation efforts, Defendants’ supplemental declarations continued to raise

serious questions—other than the Treasury Secretary and CIA Director, no Defendant has told the

public what messages, if any, they have preserved from the Houthi PC Small Group Chat. Pilkerton

Decl. ¶ 4, ECF No. 8-1; Dziecichowicz Decl. ¶ 2, ECF No. 8-2; Bennett Decl. ¶ 2, ECF No. 10-1;

Suppl. Bennett Decl. ¶ 2, ECF No. 15-1; Koch Decl. ¶ 4, ECF No. 10-2; Newton Decl. ¶ 4, ECF

No. 15-2; Blankenship Decl. ¶ 3, ECF No. 10-3; Suppl. Blankenship Decl. ¶ 4, ECF No. 15-3;



2
 See Julian E. Barnes, C.I.A. Director’s Messages in Leaked Chat Were Deleted, Agency Says
(Apr. 15, 2025), https://www.nytimes.com/2025/04/15/us/politics/cia-director-leaked-
chat.html?smid=nytcore-ios-share&referringSource=articleShare.
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Rogoff Decl. ¶¶ 5–6, ECF No. 10-4; Kootz Decl. ¶¶ 3–4, ECF No. 15-4. Defendants’ preservation

efforts were haphazard and occurred long after Defendants sent (and, in some cases, potentially

deleted) the messages.

       Shortly after the Court’s March 27, 2025 order, the press reported on the existence of at

least twenty additional Signal chats used to conduct official government business, including on

national security and foreign policy issues related to Ukraine, China, and Gaza.3 Defendants

Gabbard and Ratcliffe testified to the Senate Select Committee on Intelligence that Signal is widely

used in government—in fact, Gabbard testified that Signal comes “pre-installed” on government

devices.4 Defendants’ use of Signal to conduct official business is concerning to say the least:

senior administration officials used, and likely continue to use, a commercially available text

messaging application with an auto-delete function, without a mechanism to adequately preserve

federal records on government recordkeeping systems. The risks inherent in this practice are

shown by Defendants’ failure to preserve the entirety of a singular chat—the full Houthi PC Small

Group Chat—despite this Court ordering Defendants to make best efforts to do so. See Pilkerton

Decl. ¶ 4, ECF No. 8-1; Dziecichowicz Decl. ¶ 2, ECF No. 8-2; Bennett Decl. ¶ 2, ECF No. 10-1;

Suppl. Bennett Decl. ¶ 2, ECF No. 15-1; Koch Decl. ¶ 4, ECF No. 10-2; Newton Decl. ¶ 4, ECF

No. 15-2; Blankenship Decl. ¶ 3, ECF No. 10-3; Suppl. Blankenship Decl. ¶ 4, ECF No. 15-3;

Rogoff Decl. ¶¶ 5–6, ECF No. 10-4; Kootz Decl. ¶¶ 3–4, ECF No. 15-4.




3
  See Dasha Burns, Waltz’s Team Set Up at Least 20 Signal Group Chats for Crises Across the
World, Politico (April 2, 2025, 3:50 PM), https://www.politico.com/news/2025/04/02/waltzs-
team-set-up-at-least-20-signal-group-chats-for-crises-across-the-world-00266845.
4
  See Maggie Miller, Gabbard Says Signal Comes ‘Pre-Installed’ on Government Devices (Mar.
26, 2025, 12:32 PM), https://www.politico.com/news/2025/03/26/gabbard-signal-government-
devices-cybersecurity-00250731.
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       Defendants’ Signal messages—some of which are now seemingly unrecoverable according

to Defendants’ supplemental declarations—conveyed information related to official government

business. Thus, they constitute federal records under the FRA. The use of a private, encrypted

platform with default autodelete settings for official communications without contemporaneous

forwarding to a government system is a per se violation of Defendants’ FRA obligations to initiate

actions to recover lost records and to implement FRA-compliant recordkeeping within their

respective agencies. And Defendants used an unsecured, commercial messaging app—rather than

classified systems or a sensitive compartmented information facility (“SCIF”)—to transmit

sensitive or potentially classified communications about national security and military planning.

       Plaintiff American Oversight is a nonpartisan, public interest watchdog that is dedicated to

transparency in government. For eight years, American Oversight has filed lawsuits under the

Freedom of Information Act (“FOIA”) and other federal statutes to provide the public with a

window into the otherwise shrouded actions of the federal government. See, e.g., Am. Oversight v.

U.S. Dep’t of Gov’t Efficiency, No. 25-cv-409 (BAH) (D.D.C. filed Feb. 11, 2025); Am. Oversight

v. Dep’t of Just., 25-cv-383 (TJK) (D.D.C. filed Feb. 10, 2025). This case is no different. American

Oversight has been working for months, even before the Houthi PC Small Group Chat and DTH

Chat, to secure the preservation and release of government records from many of the same officials

who participated in the Houthi PC Small Group Chat, the DTH Chat, and other Signal chats that

are the subject of this lawsuit. The public is entitled to the preservation of official government

records, whether they reside (as they should) in the government’s computer systems or (as is the

case here) on the mobile phones of the senior government officials.

       Defendants’ Signal messages are federal records subject to the preservation obligations set

forth in the FRA. Although Defendants’ existing recordkeeping programs should already operate


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to preserve all government communications in accordance with the FRA, their failure to preserve

the Houthi PC Small Group Chat—even in the days after it was reported in national media—shows

that, without judicial action, additional Signal chats not included in the Court’s March 27, 2025

temporary restraining order, like the DTH Chat, will be automatically destroyed and lost forever.

Defendants’ violations of the FRA, continually emerging new revelations, and public testimony

about the extent to which Defendants rely on Signal to do their jobs indicate a practice of

widespread noncompliance beyond the single episode of the Houthi PC Small Group Chat. Only

court intervention can guarantee that these protected records are preserved in accordance with the

FRA for the pendency of litigation.

       For these reasons, American Oversight respectfully requests that the Court grant their

motion for a preliminary injunction and (1) declare that messages and communications sent and

received by Defendants over Signal in the transaction of public business are federal records subject

to the FRA, (2) order the agency-head Defendants to implement adequate recordkeeping programs

applicable to Signal messages to ensure compliance with the FRA for the pendency of litigation,

(3) order Defendants to immediately preserve all materials relating to Plaintiff’s claims in the

Amended Complaint, ECF No. 17, including all Signal messages sent or received by Defendants

in the course of conducting government business since the date each agency-head Defendant took

their respective offices, and (4) order Defendants, including Acting Archivist Rubio, to comply

with the initiation and notification requirements outlined in 44 U.S.C. § 3106, pending further

proceedings.

                                   STATEMENT OF FACTS

       Central to this motion are the distinctive features of Signal. The application is an open-

source, encrypted messaging service that allows users to send text, video, and picture messages to

other users. Am. Compl. ¶ 48, ECF No. 17. Signal is commercially available, meaning that anyone
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can use the service by downloading the application to their cellphone and opening an account. See

generally Signal, https://signal.org (last visited Apr. 17, 2025); Am. Compl. ¶¶ 1, 16, 13, ECF No.

17. Unlike the means of communications that government personnel are supposed to use to conduct

official business, Signal text messages are sent and received on mobile phones and can only be

collected from those phones. See Am. Compl. ¶¶ 49–50, ECF No. 17; Backup and Restore

Messages,      Signal,     https://support.signal.org/hc/en-us/articles/360007059752-Backup-and-

Restore-Messages (last visited Apr. 21, 2025).5 Of particular relevance here, Signal includes a

function that allows users to set time limits after which their messages will be automatically deleted

from both the sender’s and recipient’s devices. Am. Compl. ¶ 49, ECF No. 17. As a result of these

privacy features, Signal has become a popular means of communications for those who do not

want their communications to be preserved or to be accessible, unless specific steps are taken to

surveil the individual cellphones of those who are participating in the conversations.6

I.     AMERICAN OVERSIGHT LEARNS ABOUT DEFENDANTS’ SIGNAL CHATS
       AND THEIR FAILURE TO ADEQUATELY PRESERVE THOSE CHATS IN
       RECENT WEEKS.

       On March 24, 2025, The Atlantic published a detailed investigative article by Jeffrey

Goldberg, who revealed that senior officials in the Trump administration used Signal to coordinate

U.S. military strikes in Yemen7—among the participants were Secretary of Defense Pete Hegseth,

National Security Advisor Michael Waltz, Secretary of State Marco Rubio, Vice President JD



5
  See also Steve Witkoff (@SteveWitkoff), X (formerly Twitter), (Mar. 26, 2025, 9:20 AM),
https://x.com/SteveWitkoff/status/1904886084879720683 (appearing to confirm that his
participation in the Houthi PC Small Group Chat was via his personal phone).
6
  See, e.g., Maggie Miller & Dana Nickel, ‘It’s So Unbelievable’: Cyber World Stunned Over
War Planners Using Signal, Politico (Mar. 25, 2025, 6:33 AM),
https://www.politico.com/news/2025/03/25/signal-cybersecurity-trump-war-planning-00246881.
7
  See Jeffrey Goldberg, The Trump Administration Accidentally Texted Me Its War Plans, The
Atlantic (Mar. 24, 2025), https://www.theatlantic.com/politics/archive/2025/03/trump-
administration-accidentally-texted-me-its-war-plans/682151/.
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Vance, Director of National Intelligence Tulsi Gabbard, and other senior administration officials.

Am. Compl. ¶¶ 2–5, 47, 53–59, ECF No. 17; 2d Decl. of Benjamin A. Sparks, Apr. 22, 2025, ¶ 22.

On March 26, 2025, The Atlantic published another article, detailing the entirety of the Houthi PC

Small Group Chat (except the identity of certain personnel), in response to comments from

government officials disputing that the contents of the communications were classified.8 Am.

Compl. ¶ 64, ECF No. 17; 2d Sparks Decl. ¶ 23. At least one participant in the Houthi PC Small

Group Chat enabled the function that makes messages disappear and automatically delete after set

time limits. Am. Compl. ¶ 60, ECF No. 17.

       On March 25, 2025, American Oversight filed its original Complaint in this case and, the

next day, sought a temporary restraining order. Compl., ECF No. 1; Pl.’s Mot. TRO, ECF No. 6.

On March 27, 2025, this Court ordered Defendants to “preserve all Signal communications from

March 11-15, 2025” and file a Status Report with supporting declarations describing the steps

taken to implement such preservation. Min. Order (Mar. 27, 2025). The Order was set to expire on

April 10, 2025, “in the event that Defendants’ measures [were] satisfactory to the Court.” See id.

In their Opposition to American Oversight’s Motion for TRO, Defendants confirmed that they

were “taking steps to locate and preserve the [Houthi PC Small Group C]hat, and that at least one

of the agencies has located, preserved, and copied into a federal record keeping system a partial

version” of the chat. Defs.’ Mem. Opp. Pl.’s Mot. TRO at 7, ECF No. 8. However, as Defendants

conceded in their declarations, only partial versions of the Houthi PC Small Group Chat, and

images of the Houthi PC Small Group Chat were preserved. Am. Compl. ¶¶ 68–69, ECF No. 17.




8
 See Jeffrey Goldberg & Shane Harris, Here are the Attack Plans that Trump’s Advisers Shared
on Signal, The Atlantic, Mar. 26, 2025,
https://www.theatlantic.com/politics/archive/2025/03/signal-group-chat-attack-plans-hegseth-
goldberg/682176/.
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In sworn statements filed in this case on March 27 and 31, and April 14, 2025, none of the

representatives of Defendants’ respective agencies confirmed that all messages from the Houthi

PC Small Group Chat had been or could be preserved. Am. Compl. ¶ 69, ECF No. 17; Pilkerton

Decl. ¶ 4, ECF No. 8-1; Dziecichowicz Decl. ¶ 2, ECF No. 8-2; Bennett Decl. ¶ 2, ECF No. 10-1;

Suppl. Bennett Decl. ¶ 2, ECF No. 15-1; Koch Decl. ¶ 4, ECF No. 10-2; Newton Decl. ¶ 4, ECF

No. 15-2; Blankenship Decl. ¶ 3, ECF No. 10-3; Suppl. Blankenship Decl. ¶ 4, ECF No. 15-3;

Rogoff Decl. ¶¶ 5–6, ECF No. 10-4; Kootz Decl. ¶¶ 3–4, ECF No. 15-4.

        The Houthi PC Small Group Chat is not an isolated incident. Since American Oversight

filed its original Complaint in this action, Politico reported that there are “at least 20 Signal group

chats,” which Waltz set up to coordinate official government work on issues including Ukraine,

China, Gaza, Middle East policy, Africa, and Europe.9 While the Politico report does not specify

the exact participants of each of these 20 (or more) additional Signal group chats, it is virtually

certain that at least some (if not all) of Defendants here—who include the nation’s principal foreign

policy and national security officials—participated in at least some (if not all) of Waltz’s other

group chats. And on March 26, 2025, Defendants Gabbard and Ratcliffe testified to the House

Intelligence Committee that Signal comes “pre-installed” on all government devices, and that the

use of the application was common across the administration.10 Then, on April 20, 2025, The New

York Times reported that, before he was confirmed as the U.S. Secretary of Defense in January

2025, Defendant Hegseth created the DTH Chat that he used to communicate government business

with family members, aides, and advisors, and that he continued to use once assuming office.11




9
  See Burns, supra n.2
10
   See Miller, supra n.3.
11
   See Jaffe et al., supra n.1.
                                                  9
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Defendant Hegseth even reportedly used the DTH Chat to communicate details of the forthcoming

military strikes in Yemen that were the subject of the Houthi PC Small Group Chat.12

            After American Oversight identified deficiencies in Defendants’ Court-ordered

declarations, on April 10, 2025, the Court ordered Defendants, other than Defendant Bessent, to

produce supplemental declarations to answer questions about the specific steps they had taken to

preserve the Houthi PC Small Group Chat. Min. Order (Apr. 10, 2025). However, most of

Defendants’ supplemental declarations, which were filed on April 14, 2025, continued to avoid

telling this Court and the public what substantive messages from the Houthi PC Small Group Chat,

if any, were preserved. See Suppl. Bennett Decl. ¶ 2, ECF No. 15-1; Newton Decl. ¶ 4, ECF No.

15-2; Suppl. Blankenship Decl. ¶ 4, ECF No. 15-3; Kootz Decl. ¶¶ 3–4, ECF No. 15-4.

            Aside from providing information about the dates of their preservation efforts, Defendants’

supplemental declarations simply repeated what they had already said: the agencies took screen

shot images of “certain” or “existing” messages in the Houthi PC Small Group Chat, or images

that were still “in the possession” of Defendants’ office. Suppl. Bennett Decl. ¶ 2, ECF No. 15-1;

Newton Decl. ¶ 4, ECF No. 15-2; Suppl. Blankenship Decl. ¶ 4, ECF No. 15-3; Kootz Decl. ¶¶ 3–

4, ECF No. 15-4. Clearly, the agencies have not retained all communications from Defendants in

the Houthi PC Small Group Chat. This reality creates increased urgency for the retention and

preservation of the other Signal chats currently in use by these agency heads, including the DTH

Chat.

            The Atlantic articles, subsequent Politico article, and recent Times article revealed to the

public the extent of how these senior administration officials use a commercially available text

message application to discuss the most sensitive issues—such as threats to national security and



12
     Id.
                                                    10
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military operations impacting the lives of American servicemembers—topics normally reserved

for secure government systems. See Am. Compl. ¶ 77–78, 80, 83, ECF No. 17. The chat logs

described by The Atlantic reveal active policy deliberations, interagency “taskings,” and,

ultimately, operational coordination regarding imminent U.S. military strikes. Participants

exchanged information about weapons systems, attack sequences, diplomatic fallout, and foreign

policy messaging.13 The Secretary of Defense reportedly posted a “TEAM UPDATE” with

specific operational details approximately two hours before the first bombs were dropped in

Yemen on March 15, 2025.14 Goldberg confirmed the accuracy of the text messages by reference

to world events: the bombing commenced at the times and in the places promised by the senior

government officials in the Signal messages.15 In the “at least 20” other Signal chats attributed to

Waltz, Gabbard, and Ratcliffe, the officials discussed a variety of foreign policy topics, such as

Ukraine, Africa, and the Middle East.16 Similarly, Defendant Hegseth’s recently revealed DTH

Chat reportedly contains messages ranging from “routine administrative or scheduling

information” to “sensitive operational details” about military strikes.17 Am. Compl. ¶¶ 100–05,

ECF No. 17. And, to state the obvious, these are just these officials’ Signal chats that have been

publicly reported—likely a fraction of the total.

II.    SIGNAL’S AUTODELETE     FUNCTION   IS                         INCONSISTENT           WITH
       DEFENDANTS’ PRESERVATION OBLIGATIONS.

       Signal is not an authorized system for preserving federal records and does not comply with

recordkeeping requirements under the FRA or National Archives and Records Act (“NARA”)

guidance. Am. Compl. ¶¶ 93–94, ECF No. 17. According to Goldberg’s March 26, 2025 article,


13
   See Goldberg & Harris, supra n.8.
14
   Id.
15
   See Goldberg, supra n.7.
16
   See Burns, supra n. 2.
17
   See Jaffe et al., supra n.1.
                                                11
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at least some of the messages in the Houthi PC Small Group Chat group were configured to

disappear after a fixed period—some after one week, and others after four weeks. Id. ¶¶ 60–

62. Defendants concede that their Signal accounts no longer contain all of the messages they sent

and received in the Houthi PC Small Group Chat. The CIA likewise conceded that Defendant

Ratcliffe failed to recover any substantive messages of the Houthi PC Small Group Chat from the

relevant period from his device—retaining only “residual administrative content.” See Suppl.

Blankenship Decl. ¶ 4, ECF No. 15-3. Worse, it is not clear whether the autodelete function has

been disabled in any of the tens of other known Signal chats, including the DTH Chat, leaving the

continued potential for the automated deletion of sensitive government communications outside

of the Houthi PC Small Group Chat.

       There is no indication that the messages in chats outside of the Houthi PC Small Group

Chat are preserved or forwarded to official government storage systems, as required under the

FRA, NARA regulations, and agency policies. Am. Compl. ¶¶ 105–06, 155–86, ECF No. 17; see,

e.g., 44 U.S.C. § 2911 (prohibiting officers of executive agencies from using non-official

electronic messaging unless they either contemporaneously copy an official electronic messaging

account or promptly forward a complete copy to an official account); 36 C.F.R. §§ 1222.26(b).

Indeed, there would be no reason for Defendants to use Signal in the context of sensitive

government business, except for its well-known features that allow chat participants to avoid

federal retention requirements for communications exchanged on government communications

systems. Worse still, it was reported that the Department of Defense (“DoD”) warned personnel

that Signal is vulnerable to hacking by professional Russian hacking groups, which spy on persons




                                               12
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of interest.18 See Am. Compl. ¶ 94, ECF No. 17. Notwithstanding that warning, Defendant Hegseth

reportedly used the DTH Chat, which included members of his family, his personal lawyer, aides,

and advisors, to discuss everything from “routine administrative or scheduling information” to

“sensitive operational details” about military strikes.19 See id. ¶¶ 13–15, 95–99.

       No government agency has taken steps to recover any lost Signal records—from the Houthi

PC Small Group Chat or beyond—or initiate enforcement proceedings under 44 U.S.C. § 3106 to

compel these necessary steps. Am. Compl. ¶¶ 147–66, ECF No. 17. During testimony in front of

the Senate Select Committee on Intelligence, Defendant Ratcliffe admitted that Signal is installed

on his official CIA device and that he regularly uses the application.20 Numerous public reports

also disclosed the widespread use of Signal in the current administration.21 Indeed, in the Houthi

PC Small Group Chat messages themselves, Waltz refers to the “first PC [(principals




18
   Quil Lawrence & Tom Bowman, Days After the Signal Leak, the Pentagon Warned the App
was the Target of Hackers, NPR (Mar. 25, 2025, 12:49 PM), https://www.npr.org/2025/03/25/nx-
s1-5339801/pentagon-email-signal-vulnerability; see also Dep’t of Def., Memorandum for
Senior Pentagon Leadership, Commanders of the Combat Commands, Defense Agency and
DOD Field Activity Directors at 3 (Oct. 6, 2023),
https://dodcio.defense.gov/Portals/0/Documents/Library/Memo-UseOfUnclassMobileApps.pdf.
19
   See Jaffe et al., supra n.1.
20
   Mar. 26, 2025 Hr’g of Senate Select Committee on Intelligence at 1:04:48–54,
https://www.intelligence.senate.gov/hearings/open-hearing-worldwide-threats-5 (last visited Apr.
21, 2025).
21
   See, e.g., Theodore Schleifer & Madeleine Ngo, Inside Elon Musk’s Plan for DOGE to Slash
Government Costs, N.Y. Times (updated Jan. 23, 2025),
https://www.nytimes.com/2025/01/12/us/politics/elon-musk-doge-government-trump.html
(“People involved in the operation say that secrecy and avoiding leaks is paramount, and much
of its communication is conducted on Signal, the encrypted messaging app.”); Shira Ovide,
Danielle Abril & Hannah Natanson, Why Government Workers and Military Planners All Love
Signal Now, Wash. Post (Mar. 25, 2025),
https://www.washingtonpost.com/technology/2025/03/25/signal-government-trump-
administration-federal-workers/; Rebecca Boone & Claudia Lauer, Encrypted messaging apps
promise privacy. Government transparency is often the price, Assoc. Press (updated Mar. 20,
2025 12:11 AM), https://apnews.com/article/encryption-apps-government-transparency-
sunshine-week-ad26ecdee91c8f99f15228bbe7989ede.
                                                13
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committee)],” and no one in the group chat expressed any surprise or concern about using Signal

for these communications.22 Am. Compl. ¶ 77, ECF No. 17. At times using his personal mobile

device to access the DTH Chat, Defendant Hegseth shared a range of information about

government business, including on March 15, 2025, when he shared details about forthcoming

military strikes in Yemen.23 Id. ¶¶ 14–15. These revelations show that Signal is a widely used

method of communication among Defendants, who are among the most senior officials in the

current administration.

III.     DEFENDANTS’ SIGNAL CHATS ARE RESPONSIVE                              TO AMERICAN
         OVERSIGHT’S PENDING FOIA REQUESTS.

         The Signal chats, which reflect national security deliberations in some cases, are federal

records and must be preserved in accordance with the FRA. The failure to preserve or recover

Signal messages—some of which have been deleted already—causes irreparable harm (and raises

the risk of further injury) to the public’s right to access federal records documenting some of the

most important national security and foreign policy issues in this administration.

         These issues are of particular interest to American Oversight, which has been working for

months, even before the disclosure of the Houthi PC Small Group Chat, to secure the release of

government records from Defendants. American Oversight submitted multiple FOIA requests to

Defendants’ agencies, including multiple requests in the first quarter of 2025 that seek Signal

messages and other records concerning Defendants’ work. See Am. Compl. ¶¶ 111–41, ECF No.

17; 2d Sparks Decl. ¶¶ 7–21. For example, on January 28, 2025, American Oversight submitted a

FOIA request to DoD. Am. Compl. ¶ 112, ECF No. 17. On January 27, February 4, and March 18,

2025, American Oversight submitted FOIA requests to the Department of State seeking a host of



22
     See Goldberg & Harris, supra n.8.
23
     See Jaffe et al., supra n.1.
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different communication records. Id. ¶¶ 119–23. On January 30 and February 28, 2025, American

Oversight submitted FOIA requests to Treasury seeking a variety of communications. Id. ¶¶ 129–

30. Further, on March 25, 2025, American Oversight sent FOIA requests to DoD, State, Treasury,

ODNI, and CIA seeking all Signal messages sent by those agencies’ respective heads from January

20, 2025, forward. Id. ¶¶ 112, 119, 131, 136, 141; 2d Sparks Decl. ¶¶ 10, 16, 19–21.

          Many of the Signal communications at issue in this case are likely responsive to American

Oversight’s pending FOIA requests, some of which touch all aspects of an individual Defendant’s

work since President Trump’s January 20, 2025 inauguration. For instance, Defendant Hegseth’s

communications about government business in the DTH Chat are very likely responsive to

American Oversight’s pending March 25, 2025 FOIA request, see Am. Compl. ¶ 113, ECF No.

17, in part because the DTH Chat has reportedly existed at least as long as Defendant Hegseth has

been Defense Secretary.24 But Signal’s decentralized storage and autodelete features, and

Defendants’ uniform failures to preserve the entirety of the Houthi PC Small Group Chat, indicate

that Defendants are not preserving records as the FRA and FOIA require.

                                           ARGUMENT

          The Court should grant American Oversight’s request for a preliminary injunction,

directing Defendants to comply with their obligations under 44 U.S.C. § 3106, immediately cease

destruction of records, and take action to recover documents already destroyed or at risk of

destruction, because all four factors necessary to obtain a preliminary injunction weigh in

American Oversight’s favor. Plaintiffs seeking a preliminary injunction under Federal Rule of

Civil Procedure 65 must demonstrate that (1) they are likely to succeed on the merits; (2) they are

likely to suffer irreparable harm absent injunctive relief; (3) the balance of hardships tips in their



24
     See Jaffe et al., supra n. 18.
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favor; and (4) the injunction is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 20 (2008); League of Women Voters of United States v. Newby, 838 F.3d 1, 6 (D.C. Cir.

2016). Here, all four factors demonstrate that American Oversight is entitled to preliminary relief.

I.     AMERICAN OVERSIGHT IS LIKELY TO SUCCEED ON THE MERITS
       BECAUSE DEFENDANTS HAVE VIOLATED THE FRA.

       American Oversight is likely to succeed on the merits. A plaintiff seeking preliminary relief

to restrain an agency from destroying federal records demonstrates a likelihood of success on the

merits by “(1) identify[ing] records that fall under the FRA; (2) alleg[ing] that those records are

being removed or destroyed in violation of the FRA; and (3) alleg[ing] that the relevant agency

head . . . and/or Archivist knew about the FRA violations and yet failed to initiate corrective

action.” Price v. United States Dep’t of Justice, No. 18-CV-1339 (CRC), 2019 WL 2526439, at *6

(D.D.C. June 19, 2019). American Oversight satisfies each of those elements. Similarly, American

Oversight has shown that the agency-head Defendants have failed to implement recordkeeping

programs governing the destruction and retention of Signal messages such that they have each

established informal policies or practices of violating the FRA’s mandate that they implement

recordkeeping programs and safeguards within their agencies. See Citizens for Resp. and Ethics in

Wash. v. Pompeo, 19-cv-3324 (JEB), 2020 WL 1667638, at *4 (D.D.C. Apr. 3, 2020).

       A.      Signal Messages Are Government Records under the FRA.

       The FRA imposes affirmative duties on agencies and agency heads to preserve records

documenting “the organization, functions, policies, decisions, procedures, and essential

transactions” of the agency. 44 U.S.C. § 3101. These records must be managed in accordance with

guidelines issued by the Archivist and cannot be deleted or destroyed without authorization. Id.

§§ 3301–3314. Furthermore, agency heads are required to “establish safeguards against the

removal or loss of records,” id. § 3105, and notify and work with the Archivist to “initiate action

                                                16
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through the Attorney General for the recovery of records” unlawfully removed, id. § 3106(a).

Electronic communications—including text messages, chats, and emails—are subject to the FRA

when they document official actions, see id. § 3301 (defining record to include “all recorded

information”); 36 C.F.R. § 1220.18 (noting that “electronic messages that satisfy the definition of

a Federal record under the Federal Records Act are electronic records”); see also Competitive

Enter. Inst. v. U.S. Env’t Prot. Agency, 67 F. Supp. 3d 23, 35 (D.D.C. 2014) (“EPA has a clear

duty to preserve its text messages under FRA, and there is no other adequate remedy for EPA’s

alleged violations.”). The platform used is irrelevant; what matters is the content and purpose of

the communication. See, e.g., Jud. Watch, Inc. v. Kerry, 844 F.3d 952, 955 (D.C. Cir. 2016)

(reversing dismissal of an Administrative Procedure Act (“APA”) claim for violation of the FRA

related to “emails on a private server” that were “made or received in [the individual’s] capacity

as Secretary of State or in connection with the transaction of public business”).

       Defendants’ Signal communications about government business, such as those in the

Houthi PC Small Group Chat and the DTH Chat, plainly meet the definition of federal records.

The messages involve the heads of multiple executive branch departments discussing foreign

policy, national security, official government business and schedules, and a decision to take

military action. Am. Compl. ¶¶ 16–18, 100–04, 150, 154, ECF No. 17. Accordingly, these Signal

messages are documents “made or received by a Federal agency . . . in connection with the

transaction of public business” and are “evidence of the organization, functions, policies,

decisions, procedures, [or] operations” of those departments. 44 U.S.C. § 3301(a)(1)(A). Indeed,

the fact that senior Cabinet-level officials—including the Secretary of Defense, Secretary of State,

and Treasury Secretary—used Signal to communicate real-time operational instructions and

national security analysis, along with regular official business, Am. Compl. ¶¶ 2, 16, 75, ECF No.


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17, renders the messages federal records by virtue “of the informational value of the data in them.”

44 U.S.C. § 3301(a)(1)(A).

       B.      Defendants Have Already Lost Signal Messages in Violation of the FRA.

       Some of Defendants’ Signal messages have already been lost or destroyed, see, e.g., Suppl.

Blankenship Decl. ¶ 4, ECF No. 15-3, and others will be imminently destroyed in violation of the

FRA without further judicial intervention. Under the FRA, “[n]o records may be ‘alienated or

destroyed’” without authorization of the Archivist and unless the records “do not have ‘sufficient

administrative, legal, research, or other value to warrant their continued preservation by the

Government[.]’” Armstrong v. Bush, 924 F.2d 282, 285 (D.C. Cir. 1991) (quoting 44 U.S.C. §

3314). Autodelete settings are plainly inconsistent with this standard.

       At minimum, if a government officer or employee uses an electronic messaging platform,

such as Signal, to conduct official business, the records must be preserved and forwarded to an

official government account. See 44 U.S.C § 2911(a) (prohibiting federal officers and employees

from creating or sending records using non-official electronic messaging accounts unless they

contemporaneously a copy the message to an official account “in the original creation or

transmission of the record” or “forward[] a complete copy of the record to an official electronic

messaging account of the officer or employee” within 20 days). But, as evidenced by Defendants’

uniform and abject failure to fully preserve the Houthi PC Small Group Chat, none of the current

recordkeeping practices of any of Defendants’ agencies involve the copying or forwarding of

Signal messages to Defendants’ official email accounts at the time of transmission or similar

processes for preservation purposes. See Am. Compl. ¶¶ 67, 105, 117, 127, 134, 139; 144, ECF

No. 17; Pilkerton Decl. ¶ 4, ECF No. 8-1; Dziechichowicz Decl. ¶ 2, ECF No. 8-2; Bennett Decl.

¶ 2, ECF No. 10-1; Suppl. Bennett Decl. ¶ 2, ECF No. 15-1; Koch Decl. ¶ 4, ECF No. 10-2;

Newton Decl. ¶ 4, ECF No. 15-2; Blankenship Decl. ¶ 3, ECF No. 10-3; Suppl. Blankenship Decl.
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¶ 4, ECF No. 15-3; Rogoff Decl. ¶¶ 5–6, ECF No. 10-4; Kootz Decl. ¶¶ 3–4, ECF No. 15-4. The

fact that not one of the multiple agency-head Defendants, including the Acting Archivist himself,

preserved the Houthi PC Small Group Chat in its entirety speaks volumes about the lack of any

FRA-compliant infrastructure within their respective agencies to preserve such communications.

       This is particularly concerning because Director Ratcliffe confirmed that “one of the first

things that happened when I was confirmed as CIA Director was Signal was loaded onto my

computer at the CIA, as it is for most CIA officers.”25 And other public reporting indicates that

discussing official government business on Signal is “commonplace” among Defendants and other

Cabinet members.26 Notably, DoD employees, like Secretary Hegseth, “are NOT authorized to

access, transmit, process non-public DoD information” on Signal and similar “[u]nmanaged

‘messaging apps.’”27 Am. Compl. ¶ 94, ECF No. 17. Yet Defendant Hegseth has used—and likely

continues to use—Signal for precisely that purpose. Defendants’ use of Signal represents a

systematic effort to evade their obligations to preserve records under the FRA, the system of checks

and balances, and public scrutiny.




25
   See March 26, 2025 H’rg, supra n.20.
26
   See, e.g., Theodore Schleifer & Madeleine Ngo, Inside Elon Musk’s Plan for DOGE to Slash
Government Costs, N.Y. Times, Jan. 12, 2025,
https://www.nytimes.com/2025/01/12/us/politics/elon-musk-doge-government-trump.html
(“People involved in the operation say that secrecy and avoiding leaks is paramount, and much
of its communication is conducted on Signal, the encrypted messaging app.”); Shira Ovide,
Danielle Abril & Hannah Natanson, Why Government Workers and Military Planners All Love
Signal Now, Wash. Post, Mar. 25, 2025,
https://www.washingtonpost.com/technology/2025/03/25/signal-government-trump-
administration-federal-workers/; Rebecca Boone & Claudia Lauer, Encrypted Messaging Apps
Promise Privacy. Government Transparency is Often the Price, Assoc. Press, Mar. 20, 2025,
https://apnews.com/article/encryption-apps-government-transparency-sunshine-week-
ad26ecdee91c8f99f15228bbe7989ede.
27
   See Dep’t of Def. Memorandum, supra n.18.
                                                19
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        To make matters worse, at least one official involved in the Houthi PC Small Group Chat,

Waltz, deliberately configured Signal to automatically delete his messages after a set period—

some after one week, others after four weeks. Am. Compl. ¶¶ 60–62, ECF No. 17. Since January

27, 2025, American Oversight has submitted multiple FOIA requests to Defendants’ respective

agencies, seeking records created or received by Defendants, including Signal messages dated as

early as January 20, 2025. Am. Compl. ¶¶ 111–141, ECF No. 17. More recently, American

Oversight has learned that, in addition to the Houthi PC Small Group Chat, Waltz or his staff

created at least twenty other Signal chats, likely including Defendants and other high-ranking

government officials, to discuss sensitive information on wide-ranging foreign policy topics like

Ukraine, China, Gaza, the Middle East, Africa, and Europe. Id. ¶¶ 12, 76–81. Accordingly,

innumerable records responsive to those FOIA requests have undoubtedly vanished, considering

that (i) Waltz enabled an autodelete function on his Signal application and (ii) Signal’s autodelete

function destroys subject messages from the devices of both senders and recipients. The D.C.

Circuit has held that “an agency is not shielded from liability if it intentionally transfers or destroys

a document after it has been requested under FOIA.” Chambers v. U.S. Dep’t of Interior, 568 F.3d

998, 1004 (D.C. Cir. 2009). Defendants’ agencies received American Oversight’s FOIA requests

for Defendants’ Signal messages long before this lawsuit arose; thus, Defendants were aware of

the risks of intentionally destroying those messages, at least some of which were likely subject to

an autodelete policy.

        C.      Defendants Failed to Prevent Signal Messages from Being Destroyed, Despite
                Their Knowledge that the Autodelete Setting Was Enabled.

        Defendants have failed take measures to prevent the destruction of the Signal messages

and to establish policies for the preservation of Signal messages as required by law. The FRA

requires “that the head of each agency ‘shall establish and maintain’ a records management

                                                   20
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program, 44 U.S.C. § 3102, and ‘shall establish safeguards against the removal or loss of records,’

44 U.S.C. § 3105.” Armstrong, 924 F.2d at 293. Recently, Congress has supplemented those

provisions with an express requirement that federal officers and employees create a complete copy

of any message sent “using a non-official electronic messaging account . . . in the original creation

or transmission of the record” or “forward[] a complete copy of the record to an official electronic

messaging account of the officer or employee” within 20 days. 44 U.S.C. § 2911. Further, when

an agency head learns of the destruction or imminent destruction of records subject the FRA, they

must inform “the Archivist of [that] unlawful removal or destruction of records and shall initiate,

through the Attorney General, an action to recover the records.” Armstrong, 924 F.2d at 285

(quoting 44 U.S.C. § 3106). If the agency head fails to take action, then the National “Archivist

‘shall request the Attorney General to initiate such action, and shall notify the Congress when such

a request has been made.’” Id.

       Here, as direct participants in the Houthi PC Small Group Chat, the heads of multiple

agencies and the Acting Archivist were clearly aware of the destruction and imminent destruction

of federal records but are failing to prevent it. The Houthi PC Small Group Chat involved the

Secretary of Defense, the Secretary of Treasury, the Secretary of State, the Director of National

Intelligence, and the Director of the CIA—all agency heads. Am. Compl. ¶¶ 2–4, 57–59, ECF No.

17. Further, Secretary of State Rubio also serves as the Acting Archivist. Id. ¶¶ 29, 59. Each of

these individuals knew or should have known that the autodelete setting was enabled for at least

some of their Signal messages. Id. ¶ 63. In fact, Signal alerts group chat participants that messages

are subject to automatic deletion and the timeframe for such deletion, as shown in the below image.




                                                 21
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Signal,     Set    and    manage      disappearing     messages,    https://support.signal.org/hc/en-

us/articles/360007320771-Set-and-manage-disappearing-messages (last visited Apr. 21, 2025);

2d Sparks Decl. ¶ 23 n.3.

          The “timer countdown icon” is plainly visible in the screenshots published in The Atlantic:




2d Sparks Decl. ¶ 23.28

          As stated above, existing agency recordkeeping protocols (if any exist at all) relating to

Signal or messaging apps more broadly do not appear to involve a system for copying or

forwarding such messages to official email servers or otherwise storing those messages in




28
     See Goldberg & Harris, supra n.8.
                                                  22
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government-controlled repositories. See supra § II.B; Am. Compl. ¶¶ 105, 108, 117–18, 127–28,

134–35, 139–40; 144–45, ECF No. 17. The consistent failure of the agency-head Defendants to

preserve the Houthi PC Small Group Chat messages evidences a wider, informal policy or practice

established by each agency-head Defendant that permits the use of Signal to conduct official

business outside the confines of the FRA. See Am. Compl. ¶¶ 179–185, ECF No. 17. The fact that

not one agency-head Defendant preserved the entirety of the Houthi PC Small Group Chat is not

mere coincidence. Rather, every single agency-head Defendant’s failure to preserve all federal

records from the Houthi PC Small Group Chat show such a widespread pattern of deficient—or

non-existent—recordkeeping programs at the highest levels across multiple agencies so as to

constitute informal agency policies permitting the regular creation and destruction of federal

records without regard to the FRA. See id. Accordingly, American Oversight is likely to succeed

on the merits of its claim that Defendants’ informal policies and practices permitting the regular

creation and unlawful destruction of Signal messages by agency heads violates the “records-

creation and -destruction mandates” set forth in the FRA. See CREW v. Pompeo, 2020 WL

1667638, at *4; see also Am. Compl. ¶¶ 179–99, ECF No. 17.

       Despite extensive public reporting on at least twenty other similar Signal chats, no such

action to preserve any subsequent Signal messaging or recover any deleted messages has been

publicly started or declared by Defendants on the record. Although the National Security Council

acknowledged the authenticity of the Houthi PC Small Group Chat messages, no evidence has

emerged that any of the agency heads who themselves participated in the Signal chats, nor Rubio

in his separate capacity as Acting Archivist, initiated any steps to preserve or recover their Signal

chats, as required by the FRA. Certainly, none of the Signal chat participants reminded the others




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of their obligations to preserve federal records, particularly with the autodelete feature activated.29

This inaction constitutes unlawful withholding of agency action under the APA, 5 U.S.C. § 706(1),

and arbitrary and capricious failure to fulfill a statutory mandate under Section 706(2)(A).

II.      AMERICAN OVERSIGHT AND THE PUBLIC HAVE SUFFERED AND WILL
         CONTINUE TO SUFFER IRREPARABLE HARM FROM THE DELETION OF
         FEDERAL RECORDS THAT ARE RESPONSIVE TO PENDING FOIA
         REQUESTS.

         American Oversight seeks to use FOIA to help it and the public monitor the activities of

government officials and agencies. Am. Compl. ¶ 22, ECF No. 17; 2d Sparks Decl. ¶¶ 2–5.

American Oversight has already been irreparably harmed as a result of the Signal chats that have

been destroyed and will be further irreparably harmed if more government Signal chats are

destroyed in violation of the FRA. Only a preliminary injunction can address the harm that would

follow from Defendants’ destruction of their expansive communications.

         The concern about destruction of Signal chats is more than hypothetical: Waltz enabled the

autodelete function to delete messages for all participants of Signal chats of which he is a member

after set time limits. Am. Compl. ¶¶ 60–62, ECF No. 17; see also 2d Sparks Decl. ¶¶ 23–24. Waltz

set at least some messages to disappear after one week, and other messages were set to disappear

after four weeks. Am. Compl. ¶¶ 60–62, ECF No. 17. It can therefore be inferred that at least some

of the approximately twenty Signal chats Waltz’s team has initiated also have been set to disappear

after a certain duration. In addition, it appears that at least some of the Signal chats have already

been deleted. See id. ¶¶ 68–70. It is, therefore, likely that the additional communications that are

subject to autodeletion.




29
     See Goldberg & Harris, supra n.8.
                                                  24
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       Further, these government employees are using Signal to conduct other official business,

likely with autodeletion enabled.30 See id. ¶¶ 76–81. None of the participants expressed any

surprise or concern at this particular conversation taking place over Signal.31 Indeed, National

Security Advisor Waltz made reference to a “first PC,” indicating that there was a prior principals

committee meeting Signal chat.32 Politico’s reporting further demonstrated that just one official,

Waltz, communicated in at least twenty separate Signal chats. In light of the undisputed use of

Signal to discuss official government business at all levels of the administration, the sheer number

of communications that is still unknown is at least tenfold. Yet every day, such communications

are being destroyed. Simply put, Defendants’ use of Signal, rather than approved communication

channels, and their failures to safeguard federal records and take action to recover them under 44

U.S.C. §§ 3105–06, thwarts the ability of American Oversight and concerned citizens to monitor

the activities of their government.33

       Consistent with its mission, American Oversight has submitted multiple FOIA requests to

Defendants’ agencies, including multiple requests in 2025 that seek Signal messages. Am. Compl.

¶¶ 111–13, 119–24, 129–31, 136, 141, ECF No. 17; 2d Sparks Decl. ¶¶ 6–21. For example,

American Oversight submitted FOIA requests to the Department of State seeking all

communications, expressly including Signal messages, involving Defendant Rubio from the

period beginning January 20, 2025 through the dates that the searches are conducted. Am. Compl.

¶¶ 119–22, 124, ECF No. 17; 2d Sparks Decl. ¶¶ 11–16. American Oversight also sent requests

for Defendants’ Signal messages spanning the same timeframe to the following agencies: DoD,




30
   See Burns, supra n.2.
31
   See Goldberg & Harris, supra n.8.
32
   See id.
33
   It also thwarts the ability of Congress to monitor the executive branch’s activities.
                                                 25
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Department of the Treasury, the Office of the Director of National Intelligence; and the CIA. Am.

Compl. ¶¶ 112–13, 129–31, 136, 141, ECF No. 17; 2d Sparks Decl. ¶¶ 10, 19–21. Depending on

the dates when the respective agencies conduct the required searches, Defendants’ Houthi PC

Small Group Chat, the DTH Chat, and other Signal chats covering myriad topics would be

responsive to American Oversight’s FOIA requests to Defendants’ various agencies.

       American Oversight cannot provide the public with information about Defendants’ Signal

discussions that would otherwise be available under FOIA if such communications are deleted or

destroyed. See Am. Compl. ¶¶ 118, 128, 135, 140, 145, ECF No. 17; 2d Sparks Decl. ¶¶ 5–6, 25;

cf. Nat’l Labor Relations Bd. v. Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978) (“The basic

purpose of FOIA is to ensure an informed citizenry, vital to the functioning of a democratic society,

needed to check against corruption and to hold the governors accountable to the governed.”). Even

if any contents of the Signal chats central to this case had been properly withheld pursuant to FOIA

exemptions, American Oversight would still be entitled to some information, including the

metadata of the relevant records (e.g., dates, times, and participants of the chats) and non-exempt,

segregable, substantive messages in redacted form, or a Vaughn index. See 5 U.S.C.

§§ 552(a)(6)(A)(i), 552(a)(6)(F), 552(a)(8)(A)(ii)(II). Moreover, the FRA requires preservation of

federal records whether or not they are not released under FOIA. See 44 U.S.C. § 3101 (“The head

of each Federal agency shall make and preserve records. . . .”). And records exempt under FOIA

may still be accessible to Congress as it exercises its oversight authority over the executive branch

on behalf of the public. Defendants’ failure to preserve these records and take the mandatory

notification and enforcement steps outlined in the FRA is particularly damaging to American

Oversight’s mission, as well as the public’s ability to hold the government accountable for its

actions through their own efforts or those of their Congressional Representatives and Senators.


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       The fact that Defendants captured screenshots of the Houthi PC Small Group Chat does

not satisfy Defendants’ duty to preserve “all recorded information, regardless of form or

characteristics, made or received by a Federal agency . . . in connection with the transaction of

public business,” including the messages themselves, corresponding metadata, and any additional

Signal communications. 44 U.S.C. § 3301(a)(1)(A); 36 C.F.R. §§ 1222.26(b); see also 44 U.S.C.

§ 2911 (prohibiting electronic messaging communications from non-official accounts unless

specified steps are taken to preserve them in government systems). Nor do those screenshots serve

as a substitute for all other records subject to the FRA’s preservation requirements or diminish the

irreparable harm to American Oversight and the public if any of these records have been destroyed.

Indeed, the FRA does not contain an exception allowing the arbitrary disposal of records that

government officials have inadvertently leaked to the press.

       Further, according to Signal’s website, once Signal text message records are destroyed,

they cannot be recovered, permanently depriving the public of their content and obstructing

government accountability. See Am. Compl. ¶ 50 n.3, ECF No. 17. Courts recognize that

irreparable harm occurs when government records are unlawfully destroyed. See Armstrong, 924

F.2d at 288 (noting that unlawfully deleted government records “will be lost forever to history”);

Am. First Legal Found. v. Becerra, No. CV 24-1092 (RC), 2024 WL 3741402, at *14–16 (D.D.C.

Aug. 9, 2024) (“[T]he loss or destruction of federal records is a significant harm to both Plaintiff

and the public, and that it is a harm that cannot be cured once the records are lost or destroyed.”).

       Nor is there an alternate means to ensure that the Signal communications are preserved. As

described by Signal’s Terms & Privacy Policy, “Signal messages and calls cannot be accessed by




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[Signal] or other third parties because they are always end-to-end encrypted, private, and secure.”34

See Am. Compl. ¶¶ 48, 50, ECF No. 17. Without immediate intervention, any of Defendants’ many

Signal communications will be permanently lost.

        The content of Defendants’ Signal messages—communications relating to national

security, foreign policy, and official government business—makes their destruction a matter not

just of historical concern but of public safety, democratic accountability, and constitutional

oversight of war powers. But even greater is the irreparable harm from the loss of Signal messages

that were not inadvertently sent to a prominent national reporter—without a court order, those will

be lost to time.

        The second factor clearly weighs in favor of a preliminary injunction.

III.    THE BALANCE OF HARMS WEIGHS IN FAVOR OF PRELIMINARY RELIEF.

        The balance of equities tips sharply in American Oversight’s favor because the already

destroyed records are seemingly irretrievable, and no legitimate government interests would be

harmed by enjoining Defendants to comply with their legal obligations and preserve all Signal

communications, pursuant to American Oversight’s requested relief.

        Defendants cannot assert any injury from being required to comply with their

nondiscretionary obligations under the FRA and APA, namely, their duty to preserve the records

at issue. See League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)

(“There is generally no public interest in the perpetuation of unlawful agency action. To the

contrary, there is a substantial public interest in having governmental agencies abide by the federal

laws that govern their existence and operations.”) (cleaned up). Defendants have no right to hide



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   Signal, Signal Terms & Privacy Policy, available at
https://signal.org/legal/#:~:text=Signal%20Terms%20&%20Privacy%20Policy,Privacy%20Polic
y%20are%20available%20below (last visited Apr. 21, 2025).
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their communications from the public or to deprive the public of its right of access by failing to

preserve federal records.

       At the same time, American Oversight will suffer grave harm if it is unable to secure

preliminary relief. As discussed above, because Signal lacks a central repository for messages that

could serve as a backup for any messages that Defendants deleted from their individual devices,

American Oversight has no other way of (i) obtaining messages that Defendants have already lost,

see, e.g., Suppl. Blankenship Decl. ¶ 4, ECF No. 15-3, or (ii) ensuring that Defendants are

complying with their statutory and Court-ordered obligations to preserve extant federal records

contained in Defendants’ ongoing Signal chats. Without a preliminary injunction, Defendants’ past

and continuing violations of those obligations will continue to harm American Oversight’s interest

in the preservation of federal records without consequence. Those records are likely responsive to

American Oversight’s pending FOIA requests and are essential to American Oversight’s ability to

hold Defendants’ accountable for their failure to comply with their obligations.

       The balance of harms tips in favor of granting relief: without relief, records will continue

to be irretrievably lost; yet with relief, Defendants must simply cease the destruction of records,

preserve existing records, and notify the Attorney General of the need to take enforcement action

under the FRA in response to “actual, impending, or threatened . . . destruction of records.” 44

U.S.C. § 3106. By contrast, American Oversight and the public face the permanent loss of

documentary evidence relating to decisions of the highest constitutional magnitude: war,

diplomacy, intelligence operations, and presidential authority. The third factor supports granting

this motion.




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IV.    THE PUBLIC INTEREST STRONGLY SUPPORTS THE RELIEF AMERICAN
       OVERSIGHT SEEKS.

       Defendants cannot deny that the public interest will be served by an order requiring

Defendants to preserve government records and comply with the FRA and APA. See Newby, 838

F.3d at 12. Congress enacted the FRA to ensure continuity of government functions, facilitate

historical understanding, and provide transparency in governance. See 44 U.S.C. § 3101.

Preventing the destruction of federal records poses no harm to Defendants, while allowing their

destruction would cause severe harm to the public’s right to access government records. In fact,

this Court has recognized that upholding the FRA serves the public interest. See, e.g., Am. First

Legal Found., 2024 WL 3741402, at *16; Ctr. for Pub. Integrity v. United States Dep’t of Def.,

411 F. Supp. 3d 5, 15 (D.D.C. 2019). The public has a vital interest in the enforcement of the FRA

and the issuance of a preliminary injunction directing Defendants to preserve its records.

       This interest is heightened where, in the instance of the Houthi PC Small Group Chat and

the DTH Chat, the records concern the use of military force and foreign policy decision-making.

Those records document real-time coordination of military strikes in war-torn regions where

American servicemembers operate at great risk to their lives and other official business conducted

by the most senior government officials responsible for ensuring the national security. Congress

and the public have an urgent need to understand how foreign policy decisions are made, why

Defendants failed to use proper communication procedures, and whether future use of encrypted

communications should be reined in by statute or administrative action. See, e.g., Aids Vaccine

Advoc. Coal. v. United States Dep’t of State, No. CV 25-00400 (AHA), 2025 WL 752378 (D.D.C.

Mar. 10, 2025) (“[W]hile the public no doubt has an interest in the Executive carrying out his

important role in foreign affairs, it also has an interest in ensuring those duties are carried out in

accordance with law, including the APA . . . .”). The same is true for Defendants’ other Signal

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communications. Defendants hold some of the most powerful positions within the executive

branch of American government, and American Oversight, the public, and Congress all have

statutory rights to request access to public records in order to hold the powerful accountable for

their conduct while in office.

       The public interest weighs heavily in favor of ensuring that Defendants uphold their legal

obligations by preserving sensitive records like these. This is especially true in light of Defendants’

unlawful destruction of evidence and stonewalling in response to the Court’s requests for

information about Defendants’ preservation practices, which reflect Defendants’ intent to shield

their actions from public scrutiny. The Court can order preservation of the records at issue before

they are lost. Delay in that preservation will result in permanent harm.

V.     THE COURT SHOULD NOT REQUIRE AMERICAN OVERSIGHT TO POST A
       BOND.

       The Court should not impose a security requirement in this public interest litigation. See

e.g., Nat’l Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL

597959, at *19 (D.D.C. Feb. 25, 2025) (declining to impose bond on a public interest plaintiff,

highlighting that the trial court has discretion to require no bond at all, and noting that it would

“defy logic” to require bond in a case where the defendants—a federal agency and its director—

would face no monetary injury from preliminary injunctive relief); see also Mich. Citizens for an

Indep. Press v. Thornburgh, No. CIV.A. 88-2322, 1988 WL 90388, at *8 n.12 (D.D.C. Aug. 17,

1988) (declining to order security in part because action was “brought in the public interest on

behalf of individuals whose resort to further judicial review would be impaired if compelled to pay

the bond that defendants seek”).

       Here, American Oversight is a public interest plaintiff, and the Court has broad discretion

to dispense with the requirement of bond, particularly in a case where Defendants face no monetary

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injury if preliminary injunction relief is imposed. Therefore, the Court should allow this case to

proceed without a bond.

                                        CONCLUSION

       Plaintiff American Oversight has satisfied the requirements for a preliminary injunction.

Accordingly, it respectfully requests that this Court grant its motion for a preliminary injunction

and (1) declare that messages and communications sent and received by Defendants over Signal

in the transaction of public business are federal records subject to the FRA, (2) order the agency-

head Defendants to implement adequate recordkeeping programs applicable to Signal messages to

ensure compliance with the FRA for the pendency of litigation, (3) order Defendants to

immediately preserve all materials relating to Plaintiff’s claims in the Amended Complaint, ECF

No. 17, including all Signal messages sent or received by Defendants in the course of conducting

government business since the date each agency-head Defendant took their respective offices, and

(4) order Defendants, including Acting Archivist Rubio, to comply with the initiation and

notification requirements outlined in 44 U.S.C. § 3106, pending further proceedings.

 Dated: April 22, 2025                            Respectfully submitted,

                                                  /s/ Benjamin A. Sparks
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